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                 UNITED STATES BANKRUPTCY COURT
                   SOUTHERN DISTRICT OF TEXAS
                          HOUSTON DIVISION
IN RE:                          §
                                §
GALLERIA 2425 OWNER, LLC,       § CASE NO. 23-34815
                                §
     DEBTOR.                    § CHAPTER 11

    UNITED STATES TRUSTEE’S LIMITED OBJECTION AND RESERVATION OF
     RIGHTS TO DEBTOR’S APPLICATION TO EMPLOY ATTORNEYS [ECF 67]

                      Responds and Objects the Pleading Filed at [ECF 67]

TO THE HONORABLE JEFFREY P. NORMAN, UNITED STATES BANKRUPTCY JUDGE:

       KEVIN M. EPSTEIN, the United States Trustee for Region 7 (the “U.S. Trustee), files this

Limited Objection and Reservation of Rights to Debtor’s Application to Employ Attorneys [ECF

67] (the “Limited Objection”) responding and objecting, pursuant to 11 U.S.C. § 327, to the

Debtor’s Application to Employ Attorneys [ECF 67] (the “Application”), because the U.S. Trustee

submitted comments and requested revisions to the proposed retention order to which the Debtor

has not responded, and states as follows:

                            I. Procedural and Factual Background

       1.      On December 5, 2023, (the “Petition Date”), Galleria 2425 Owner, LLC (the

"Debtor") filed a voluntary petition for relief under Chapter 11 of the United States Code, 11 U.S.C.

§ 101 et seq. (the “Bankruptcy Code”) with the United States Bankruptcy Court for the Southern

District of Texas, Houston Division (the “Court”). This Court has not appointed a Trustee or

Examiner, nor has an official committed been established in this Chapter 11 proceeding. On

January 10, 2024, the meeting of creditors was held and concluded.

       2.      This is a single asset real estate case, pursuant to 11 U.S.C. §101(51B). The Debtor

owns a commercial high-rise office building located at 2425 West Loop South, Houston, Texas
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77027.

         3.    On December 22, 2023, Debtor filed the Application seeking authority to retain and

employ the Reese W. Baker and Baker & Associates (collectively, “Baker”) as its attorney in all

matters arising in or related to this case, effective as of December 6, 2023.

         4.    On January 26, 2024, the U.S. Trustee submitted written comments to the

Application and requested specific revisions to the proposed Order to conform the Debtor’s

retention and employment of Baker, as counsel, to the requirements of 11 U.S.C. §§ 327 and 330.

As of the date of this Limited Objection, Debtor has failed to respond to the U.S. Trustee’s written

comments and requested revisions. Accordingly, the U.S. Trustee files this Limited Objection to

reserve its right to seek additional time and information from the Debtor to support its Application.


                                      II. Limited Objection

         5.    To be clear, the U.S. Trustee does not object to the Debtor’s retention and

employment of Baker.

         6.    With respect the terms of the proposed Order, however, the U.S. Trustee has

numerous issues and, in connection with those terms, has requested revisions. To date, the Debtor

has failed to respond to those requested revisions.

         7.    Accordingly, the U.S. Trustee objects to entry of the proposed Order [ECF 67-1]

without implementation of the U.S. Trustee’s requested revisions.

                                    III. Reservation of Rights

         8.    The U.S. Trustee reserves his right to supplement and/or amend this Limited

Objection and to raise additional or further objections to the Application, at or prior to the hearing

on the Application, or any other relevant hearing.




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                                            IV. Prayer

       WHEREFORE, the U.S. Trustee prays that the Court: (a) sustain this Limited Objection;

(b) continue the U.S. Trustee’s objection deadline to the Application to a date acceptable to the U.S.

Trustee so as to allow the U.S. Trustee to adequately respond to Debtor’s response to the comments

and requested revisions; and (c) grant such other and further relief as the Court deems just and

equitable.

       Dated: January 26, 2024

                                                      Respectfully submitted,

                                                      KEVIN M. EPSTEIN
                                                      UNITED STATES TRUSTEE
                                                      Region 7
                                                      Southern and Western Districts of Texas

                                                      By:/s/ Jana Smith Whitworth
                                                        Jana Smith Whitworth
                                                        Trial Attorney
                                                        SBOT No. 00797435/Fed ID 20656
                                                        515 Rusk Avenue, Suite 3516
                                                        Houston, TX 77002
                                                        Telephone: (713) 718-4650
                                                        Facsimile: (713) 718-4670
                                                        Email: Jana.Whitworth@usdoj.gov




                                 CERTIFICATE OF SERVICE

      I hereby certify that a true and correct copy of the foregoing has been served by electronic
means on all PACER participants, as listed below, on January 26, 2024.

                                                      By: /s/ Jana Smith Whitworth
                                                          Jana Smith Whitworth




                                                  3
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Label Matrix for local noticing               2425 WL, LLC                            CC2 TX, LLC
0541-4                                        2425 West Loop South 11th floor         c/o Howard Marc Spector
Case 23-34815                                 Houston, TX 77027-4304                  Spector & Cox, PLLC
Southern District of Texas                                                            12770 Coit Road Suite 850
Houston                                                                               Dallas, TX 75251-1364
Fri Jan 26 17:36:41 CST 2024
City of Houston                               Galleria 2425 Owner, LLC                (p)HARRIS COUNTY ATTORNEY’S OFFICE
Linebarger Goggan Blair & Sampson LLP         1001 West Loop South 700                P O BOX 2928
c/o Tara L. Grundemeier                       Houston, TX 77027-9084                  HOUSTON TX 77252-2928
PO Box 3064
Houston, TX 77253-3064

Houston Community College System              Houston ISD                             National Bank of Kuwait, S.A.K.P., New York
Linebarger Goggan Blair & Sampson LLP         Linebarger Goggan Blair & Sampson LLP
c/o Tara L. Grundemeier                       c/o Tara L. Grundemeier
PO Box 3064                                   PO Box 3064
Houston, TX 77253-3064                        Houston, TX 77253-3064

4                                             2425 WL, LLC                            ADT
United States Bankruptcy Court                13498 Pond Springs Rd.                  PO Box 382109
PO Box 61010                                  Austin, TX 78729-4422                   Pittsburgh, PA 15251-8109
Houston, TX 77208-1010


Ali Choudhry                                  Ash Automated Control Systems, LLC      CFI Mechanical, Inc
1001 West Loop South 700                      PO Box 1113                             6109 Brittmoore Rd
Houston, TX 77027-9084                        Fulshear, TX 77441-2013                 Houston, TX 77041-5610



CNA Insurance Co                              Caz Creek Lending                       Cirro Electric
PO Box 74007619                               118 Vintage Park Blvd No. W             PO Box 60004
Chicago, IL 60674-7619                        Houston, TX 77070-4095                  Dallas, TX 75266



City of Houston                               City of Houston                         Comcast
PO Box 1560                                   c/o Tara L. Grundemeier                 PO Box 60533
Houston, TX 77251-1560                        Linebarger Goggan Blair & Sampson LLP   City of Industry, CA 91716-0533
                                              PO Box 3064
                                              Houston, TX 77253-3064

Datawatch Systems                             Environmental Coalition Inc             Ferguson Facilities Supplies
4520 East West Highway 200                    PO Box 1568                             PO Box 200184
Bethesda, MD 20814-3382                       Stafford, TX 77497-1568                 San Antonio, TX 78220-0184



Firetron                                      First Insurance Funding                 Gulfstream Legal Group
PO Box 1604                                   450 Skokie Blvd                         1300 Texas St
Stafford, TX 77497-1604                       Northbrook, IL 60062-7917               Houston, TX 77002-3509



HNB Construction, LLC                         Harris County Tax Assessor              Houston Community College System
521 Woodhaven                                 PO Box 4622                             c/o Tara L. Grundemeier
Ingleside, TX 78362-4678                      Houston, TX 77210-4622                  Linebarger Goggan Blair & Sampson LLP
                                                                                      PO Box 3064
                                                                                      Houston, TX 77253-3064
                           Case 23-34815 Document 85 Filed in TXSB on 01/26/24 Page 5 of 5
Houston ISD                                          Kings 111 Emergency Communications                   Lexitas
c/o Tara L. Grundemeier                              751 Canyon Drive, Suite 100                          PO Box Box 734298 Dept 2012
Linebarger Goggan Blair & Sampson LLP                Coppell, TX 75019-3857                               Dallas, TX 75373-4298
PO Box 3064
Houston, TX 77253-3064

Logix Fiber Networks                                 MacGeorge Law Firm                                   Mueller Water Treatment
PO Box 734120                                        2921 E 17th St Blgd D Suite 6                        1500 Sherwood Forest Dr.
Dallas, TX 75373-4120                                Austin, TX 78702-1572                                Houston, TX 77043-3899



National Bank of Kuwait                              Nationwide Security                                  Nichamoff Law Firm
299 Park Ave. 17th Floor                             2425 W Loop S 300                                    2444 Times Blvd 270
New York, NY 10171-0023                              Houston, TX 77027-4205                               Houston, TX 77005-3253



TKE                                                  U.S. Trustee’s Office                                US Trustee
3100 Interstate North Cir SE 500                     515 Rusk, Suite 3516                                 Office of the US Trustee
Atlanta, GA 30339-2296                               Houston, Texas 77002-2604                            515 Rusk Ave
                                                                                                          Ste 3516
                                                                                                          Houston, TX 77002-2604

Waste Management                                     Zindler Cleaning Service Co                          James Q. Pope
PO Box 660345                                        2450 Fondren 113                                     The Pope Law Firm
Dallas, TX 75266-0345                                Houston, TX 77063-2314                               6161 Savoy Drive
                                                                                                          Ste 1125
                                                                                                          Houston, TX 77036-3343

Reese W Baker                                        Rodney Drinnon
Baker & Associates                                   McCathern Houston
950 Echo Lane                                        2000 W Loop S
Suite 300                                            Ste. 1850
Houston, TX 77024-2824                               Houston, TX 77027-3744



                   The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                   by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


Harris County, ATTN: Property Tax Division
Harris County Attorney’s Office
P.O. Box 2928
Houston, TX 77252-2928 United States




                 The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(u)2425 West Loop, LLC                               End of Label Matrix
                                                     Mailable recipients      46
                                                     Bypassed recipients       1
                                                     Total                    47
